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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
OMNI HEALTHCARE, INC., et al.,      )
                                    )
                     Plaintiffs,    )
                                    )
v.                                  )          Civil Action
                                    )          No. 18-cv-12558-PBS
MD SPINE SOLUTIONS LLC, et al.,     )
                                    )
                     Defendants.    )
                                    )


                         MEMORANDUM AND ORDER

                               January 6, 2025

Saris, D.J.

                                INTRODUCTION

     Relator OMNI Healthcare, Inc. (“Relator” or “OMNI”) brings

this qui tam action on behalf of the federal government, 29 states,

and the District of Columbia against MD Spine Solutions LLC (“MD

Labs”)   and   its   owners,    Denis       Grizelj   and   Matthew       Rutledge

(collectively,   “Defendants”).      Relator      alleges        that   Defendants

violated the federal False Claims Act (“FCA”) and state law by

submitting or causing the submission of false claims for medically

unnecessary urinary tract infection (“UTI”) tests. Relator also

alleges that Defendants submitted false claims for UTI testing

that resulted from violations of the federal Anti-Kickback Statute

(“AKS”).




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     Defendants move for summary judgment on all of Relator’s

remaining     claims.    Relator     cross-moves        for    partial      summary

judgment, asking the Court to resolve legal questions about the

FCA standard for materiality, causation, and damages.

     After    hearing,    the    Court       ALLOWS   Defendants’      motion      for

summary judgment (Dkt. 252) and DENIES as moot Relator’s motion

for partial summary judgment (Dkt. 255).

                                  BACKGROUND

I.   Factual Background

     The following facts are undisputed, except where otherwise

noted. See Deaton v. Town of Barrington, 100 F.4th 348, 353 (1st

Cir. 2024).

     A.      MD Labs’ UTI Testing

     MD Labs is an independent clinical laboratory founded by

Grizelj and Rutledge. MD Labs began performing UTI testing around

2017. The standard test for UTIs for over 60 years has been the

bacterial urine culture (“BUC”). The BUC test involves placing a

urine sample on a growth medium and waiting between twenty-four

and forty-eight hours to see if any bacteria grow. MD Labs used a

different    testing    method    involving      polymerase        chain   reaction

(“PCR”) technology. PCR testing amplifies one or more copies of a

DNA segment in the sample, which enables identification of genetic

material belonging to a particular biological origin. PCR testing

is more costly than BUC testing.
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     MD Labs used PCR technology to test for either seventeen or

nineteen pathogens that could cause UTIs, depending on the time

period. Some requisition forms that MD Labs used for UTI testing

orders only allowed the physician to select the entire seventeen-

or nineteen-pathogen panel, while others enabled physicians to

customize the panel to test for specific pathogens.

     Relator OMNI is a medical practice in Florida owned by Dr.

Craig Deligdish. OMNI sent around 600 samples to MD Labs for PCR

UTI testing between 2017 and 2019, some of which were billed to

government health programs. When an OMNI provider determined that

a particular laboratory test was warranted, the provider would

select the test in the patient’s electronic medical record, and a

medical   assistant   would    complete      a    requisition       form   for   a

laboratory.

     Deligdish instructed his staff to order PCR UTI testing from

MD Labs even when the provider had selected a BUC test for the

patient. 1 He did so in order to substantiate OMNI’s FCA claims

against MD Labs. All the PCR UTI testing that MD Labs performed

for OMNI patients resulted from this switch.




1 The parties explained at the summary judgment hearing that the
only option for UTI testing in OMNI’s electronic medical record
system was a BUC test.
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      B.     MD Labs’ Sales Force

      During the relevant period, MD Labs used both employees and

independent     contractors         to     promote      its     PCR    UTI   testing     to

providers. These sales representatives received commissions based

on the revenue generated from the testing ordered by providers at

their      accounts.    MD     Labs        trained       and     managed      its    sales

representatives        identically         whether       they    were     employees      or

independent contractors. In 2018, Dr. Deligdish and others at OMNI

discussed PCR UTI testing with multiple independent-contractor

sales representatives from MD Labs. There is no evidence that any

sales representative offered or paid inducements to providers.

      MD Labs sought legal advice about its use of independent-

contractor sales representatives in late 2016 and early 2017.

Outside     counsel    advised       MD    Labs      multiple     times      that   making

commission-based        payments           to       independent-contractor           sales

representatives could violate the AKS. Nonetheless, Grizelj and

Rutledge both testified at their depositions that they either

believed the arrangement was lawful or that they were unsure of

its legality. MD Labs reconfigured its sales force to use solely

employees     after    counsel      reported         that   a   2021     Fourth     Circuit

decision had upheld a jury verdict finding federal FCA liability

for     commissions          paid         to        independent-contractor           sales

representatives. See United States v. Mallory, 988 F.3d 730, 738

(4th Cir. 2021).

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      C.    MD Labs’ Billing Practices

      MD Labs advertised to providers that it did not balance bill

-- i.e., bill patients for the difference between its charge and

the amount paid by insurance -- for PCR UTI testing and that a

patient would never pay more than $50 per test. See Mass. Med.

Soc’y v. Dukakis, 815 F.2d 790, 790 (1st Cir. 1987) (defining

balance    billing).       The   $50    cap       applied   if   the    patient   lacked

insurance, the patient’s insurer denied coverage, or the billed

amount would go entirely to the patient’s deductible. An MD Labs

sales representative advertised the $50 self-pay price to Dr.

Deligdish and OMNI.

      Although       the    record      reflects       that      MD     Labs   routinely

advertised its billing practices in this manner, Grizelj claimed

at his deposition that MD Labs always balance billed patients. For

his part, Rutledge stated in an affidavit that only some patients

benefited from the $50 cap as part of MD Labs’ financial hardship

policy and that MD Labs stopped charging a reduced rate to certain

patients around 2020.

II.   Procedural Background

      Relator filed this action against MD Labs in December 2018.

Relator alleged that MD Labs submitted false claims for medically

unnecessary     or    otherwise        improper      UTI    tests,      pharmacogenetic

tests, and urine drug tests in violation of the federal FCA and

various state and local analogs.

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     In   October   2021,    Defendants     entered   into    a   settlement

agreement with the federal government and Relator to resolve some

of the claims regarding urine drug tests (“UDTs”). Defendants

admitted that MD Labs simultaneously performed presumptive and

confirmatory UDTs even though Defendants knew that, in certain

situations, providers would not use the result of the presumptive

test because the more precise confirmatory result was available at

the same time. Relator retained the right to pursue other claims

relating to the “submission or causing the submission of false

claims for [UTI] testing.” Dkt. 85-1 at 9. The United States has

not intervened in the non-settled claims.

     Defendants moved to dismiss in May 2022. The Court denied the

motion, holding that Relator had adequately pled claims under the

federal FCA and state and local analogs with regard to medically

unnecessary   UTI   testing.     Relator     subsequently      amended       its

complaint to add claims under the AKS and the Eliminating Kickbacks

in Recovery Act (“EKRA”). Relator also advanced three new sets of

factual allegations in support of its FCA claims: 1) that MD Labs

entered into independent-contractor service agreements in which it

paid compensation for referrals; 2) that MD Labs routinely did not

balance bill patients; and 3) that MD Labs submitted claim forms

to health care programs listing diagnosis codes that differed from

those on the requisition forms from the ordering physicians.

Defendants moved to dismiss these new claims and allegations. The

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Court allowed the motion with respect to the new AKS and EKRA

claims and the allegation that Defendants submitted claim forms

with false diagnosis codes but otherwise denied the motion.

       In due course, Defendants moved for summary judgment on all

of Relator’s remaining claims. Relator cross-moved for summary

judgment on three questions of law related to the federal FCA

standard. 2

                                 LEGAL STANDARD

       Summary judgment is appropriate “if the movant shows that

there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

“A   genuine     dispute    is   one   which    ‘a   reasonable     jury   could

resolve . . . in the favor of the non-moving party,’ and a material

issue is one with the ‘potential to affect the outcome . . . under

the applicable law.’” Kinzer v. Whole Foods Mkt., Inc., 99 F.4th

105,    108   (1st   Cir.   2024)   (alterations     in   original)     (quoting

Cherkaoui v. City of Quincy, 877 F.3d 14, 23-24 (1st Cir. 2017)).

In determining whether to grant summary judgment, a court must

construe “the facts in the light most favorable to the non-moving

party” and “draw[] all reasonable inferences” in its favor. Id.


2 After the deadline for summary judgment motions, Defendants
sought leave to file a supplemental motion arguing that the FCA’s
qui tam provision is unconstitutional. Because the Court grants
summary judgment to Defendants on all of Relator’s remaining claims
for other reasons, there is no need to address the constitutional
issue.
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(quoting Harley-Davidson Credit Corp. v. Galvin, 807 F.3d 407, 408

(1st Cir. 2015)).

     The party seeking summary judgment “must [first] adumbrate

‘an absence of evidence to support the nonmoving party’s case.’”

Pleasantdale Condos., LLC v. Wakefield, 37 F.4th 728, 733 (1st

Cir. 2022) (alteration in original) (quoting Brennan v. Hendrigan,

888 F.2d 189, 191 (1st Cir. 1989)). Once the movant does so, “[t]he

burden then shifts to the nonmovant to establish the existence of

a genuine issue of material fact.” Id. To satisfy this burden, the

nonmovant     “must     present      definite,         competent        evidence”

demonstrating    that   a     trialworthy      issue   exists.    Id.    (quoting

Mesnick v. Gen. Elec. Co., 950 F.2d 816, 822 (1st Cir. 1991)).

“[C]onclusory allegations, improbable inferences, and unsupported

speculation” do not suffice. Kinzer, 99 F.4th at 108 (quoting

Ellis v. Fid. Mgmt. Tr. Co., 883 F.3d 1, 7 (1st Cir. 2018)).

                                 DISCUSSION

I.   Federal FCA Standard

     A.     General Standard

     Relator’s    primary     argument    is    that   Defendants     “knowingly

present[ed], or cause[d] to be presented, a false or fraudulent

claim for payment or approval” to the federal government. 31 U.S.C.

§ 3729(a)(1)(A). Liability under this presentment provision has

multiple elements. “Evidence of an actual false claim is ‘the sine

qua non of [an FCA] violation.’” United States ex rel. Booker v.
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Pfizer, Inc., 847 F.3d 52, 57 (1st Cir. 2017) (quoting United

States ex rel. Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220,

225 (1st Cir. 2004)). The plaintiff also must prove that the

defendant either “present[ed]” or “cause[d] to be presented” the

false claim to the federal government, 31 U.S.C. § 3729(a)(1)(A),

and that the claim’s falsity was material to the government’s

payment decision, see Guilfoile v. Shields, 913 F.3d 178, 187 (1st

Cir. 2019). Lastly, “[t]he FCA includes a scienter requirement

that the false claim be submitted ‘knowingly.’” Id. (quoting 31

U.S.C. § 3729(a)(1)(A), (b)(1)). The FCA defines “knowingly” to

mean that the defendant “has actual knowledge of the information,”

“acts in deliberate ignorance of the truth or falsity of the

information,” or “acts in reckless disregard of the truth or

falsity of the information.” 31 U.S.C. § 3729(b)(1)(A). “[P]roof

of specific intent to defraud,” however, is not required. Id.

§ 3729(b)(1)(B).

     B.   FCA Claims Premised on an AKS Violation

     Two of Relator’s theories of FCA liability are premised on

alleged AKS violations. The AKS makes it a criminal offense to

“knowingly   and   willfully   offer[]      or   pay[]   any     remuneration

(including any kickback, bribe, or rebate) directly or indirectly,

overtly or covertly, in cash or in kind to any person to induce

such person”:



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     (A) to refer an individual to a person for the furnishing
     or arranging for the furnishing of any item or service
     for which payment may be made in whole or in part under
     a Federal health care program, or

     (B) to purchase, lease, order, or arrange for or
     recommend purchasing, leasing, or ordering any good,
     facility, service, or item for which payment may be made
     in whole or in part under a Federal health care
     program . . . .

42 U.S.C. § 1320a-7b(b)(2). Congress enacted the AKS “to prevent

medical    providers   from      making      decisions    based     on    improper

financial incentives rather than medical necessity and to ensure

that federal health care programs do not bear the costs of such

decisions.” United States ex rel. Banigan v. PharMerica, Inc., 950

F.3d 134, 137 (1st Cir. 2020). “[T]he heartland of what the AKS is

intended   to   prevent”    is   “the     use   of   payments     to     improperly

influence decisions on the provision of health care that lead to

claims for payment to federal health care programs.” Guilfoile,

913 F.3d at 192-93. “Essentially, the AKS targets any remunerative

scheme through which a person is ‘paid “in return for” referrals’

to a program under which payments may be made from federal funds.”

Id. at 189 (quoting United States v. Patel, 778 F.3d 607, 618 (7th

Cir. 2015)).

     For purposes of the FCA, “a claim that includes items or

services resulting from a violation of [the AKS] constitutes a

false or fraudulent claim.” 42 U.S.C. § 1320a-7b(g). In other

words, “[a]n AKS violation that results in a federal health care


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payment is a per se false claim under the FCA.” Guilfoile, 913

F.3d at 190 (alteration in original) (quoting United States ex

rel. Lutz v. United States, 853 F.3d 131, 135 (4th Cir. 2017)).

       Certain legal principles come into play when an FCA claim is

premised     on   an   underlying   AKS    violation.    For   starters,       the

plaintiff need not prove that “compliance with the AKS was material

to the government’s decision to pay any specific claim.” Id. The

plaintiff must show, however, “a sufficient causal connection

between [the] AKS violation and a claim submitted to the federal

government.” Id. Finally, establishing a violation of the AKS

requires proof that the defendant acted “knowingly and willfully.”

42 U.S.C. § 1320a-7b(b)(2). In this context, the term “willfully”

refers to knowledge that the conduct was unlawful. See United

States ex rel. Langer v. Zimmer Biomet Holdings, Inc., __ F. Supp.

3d __, __ (D. Mass. 2024) [2024 WL 3633536, at *5]; United

States v. Teva Pharms. USA, Inc., 560 F. Supp. 3d 412, 421 (D.

Mass. 2021); see also United States ex rel. Hart v. McKesson Corp.,

96 F.4th 145, 154-55, 157 (2d Cir.) (adopting this construction

and collecting cases from other circuits doing the same), cert.

denied, __ S. Ct. __ (2024) [2024 WL 4426646].

II.    Medically Unnecessary PCR Testing

       Relator’s main theory of FCA liability posits that Defendants

submitted claims for medically unnecessary PCR testing for UTIs.

Medicare     is   statutorily    prohibited    from     covering    “items      or

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services” that “are not reasonable and necessary for the diagnosis

or treatment of illness or injury.” 42 U.S.C. § 1395y(a)(1)(A);

see D’Agostino v. ev3, Inc., 845 F.3d 1, 10 (1st Cir. 2016). And

the Medicare claim form requires the submitting entity to certify

that the listed items or services were medically necessary. See

United States ex rel. Riedel v. Bos. Heart Diagnostics Corp., 332

F. Supp. 3d 48, 57 (D.D.C. 2018). Thus, “claims for medically

unnecessary treatment are actionable under the FCA.” United States

ex rel. Polukoff v. St. Mark’s Hosp., 895 F.3d 730, 742 (10th Cir.

2018) (quoting United States ex rel. Riley v. St. Luke’s Episcopal

Hosp., 355 F.3d 370, 376 (5th Cir. 2004)).

     Defendants seek summary judgment on this theory of liability

on three grounds: 1) the claims for PCR UTI testing were not false

because   the   tests   were    not   medically   unnecessary;      2) Relator

cannot prove that Defendants caused the submission of false claims

because Dr. Deligdish’s direction to his staff to order PCR testing

from MD Labs was an intervening cause that broke any causal chain

with regard to OMNI-related claims; and 3) Defendants did not know

that MD Labs was performing medically unnecessary tests. The Court

agrees with Defendants’ scienter argument and, therefore, need not

address their other arguments.

     “[A] laboratory generally may rely on [a] doctor’s order in

submitting a claim for reimbursement as medically necessary.”

United States v. Bertram, 900 F.3d 743, 750 (6th Cir. 2018); cf.

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United States ex rel. Allen v. Alere Home Monitoring, Inc., 334 F.

Supp. 3d 349, 365 (D. Mass. 2018) (explaining that the seller of

an at-home testing kit was “generally entitled to rely on the

independent judgment of a medical provider” regarding medical

necessity). A laboratory violates the FCA, however, if it knows

that it is submitting claims for medically unnecessary tests. See,

e.g., Bertram, 900 F.3d at 750; Allen, 334 F. Supp. 3d at 357,

365; United States ex rel. Groat v. Bos. Heart Diagnostics Corp.,

296 F. Supp. 3d 155, 165 (D.D.C. 2017). To satisfy the FCA’s

scienter requirement, Relator must show one of the following:

1) Defendants were aware they were submitting claims for medically

unnecessary tests (actual knowledge); 2) they were aware of a

substantial risk that they were submitting claims for medically

unnecessary tests but intentionally avoided confirming that fact

(deliberate ignorance); or 3) they were conscious of a substantial

and unjustifiable risk that the tests were medically unnecessary

but submitted the claims anyway (reckless disregard). See 31 U.S.C.

§ 3729(b)(1)(A); United States ex rel. Schutte v. SuperValu Inc.,

598 U.S. 739, 751 (2023).

     Defendants offer evidence indicating that they believed that

PCR testing was superior to BUC testing for diagnosing UTIs. See

Dkt. 254-3 ¶ 6; Dkt. 254-7 at 10, 14-15. The evidence Relator puts

forth in response is not sufficient to raise a triable issue that



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Defendants submitted claims for PCR UTI tests knowing that the

performance of the PCR testing was medically unnecessary.

      Relator first argues that a reasonable jury could infer that

Defendant      acted    knowingly          from    the        absence          of    government

authorization for coverage for PCR UTI testing. There was no

national    coverage          determination        (“NCD”)          or     local       coverage

determination (“LCD”) governing Medicare’s coverage of PCR UTI

testing during the relevant period, although half of Medicare

administrative contractors have since adopted an applicable LCD

that took effect in June 2022. See Odell v. U.S. Dep’t of Health

& Hum. Servs., 995 F.3d 718, 720 (9th Cir. 2021) (describing NCDs

and LCDs). This argument fails because Relator concedes that “an

NCD or LCD may not be specifically required in all cases for a

particular service” to be deemed medically necessary. Dkt. 269 at

7.   “Absent    a   regulation,        [an   NCD],       or    an    LCD,       the    Medicare

contractor proceeds on a case-by-case basis to determine whether

a service is reasonable and necessary.” Odell, 995 F.3d at 720;

see Banks v. Sec’y, Dep’t of Health & Hum. Servs., 38 F.4th 86, 90

(11th Cir. 2022) (“[A]pplying [the medical necessity] standard

often entails case-by-case adjudication.”); Polukoff, 895 F.3d at

735 (noting that Medicare contractors may “make individual claim

determinations,        even    in    the   absence       of    [a    national          or   local

coverage    determination], . .              .    based        on        the        individual’s

particular factual situation” (alterations in original) (quoting

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Medicare Program: Review of National Coverage Determinations and

Local Coverage Determinations, 68 Fed. Reg. 63,692, 63,693 (Nov.

7, 2003))). Knowledge of the absence of an applicable NCD or LCD

would not have made Defendants aware of a substantial risk that

the PCR UTI tests were medically unnecessary.

       Relator’s reliance on a set of guidelines from the American

Urological Association (“AUA”) is similarly unconvincing. The AUA

guidelines       --     which    were   “published”    in   2019     and    had   their

“validity confirmed” in 2022 -- state that “the impact of [PCR]

tests on the accuracy of diagnosis [of UTIs] is not documented and

cannot     yet    be     recommended      for    incorporation       into    clinical

practice.” Dkt. 259-4 at 2, 6-7. The only specific claims for

payment documented in the record, however, occurred in 2018 and

early 2019. See Dkt. 259-8 at 3-4. Even assuming the AUA guidelines

did not change in relevant part between 2019 and 2022, Relator has

not    shown     that    their    original      publication    in    2019   pre-dated

submission of any claim for payments. Nor has Relator provided

guidelines with similar language about PCR testing that were

published before MD Labs’ submission of claims.

       Relator also highlights an analysis examining fifty-seven PCR

tests that MD Labs performed for OMNI patients. Of the requisition

forms sent to MD Labs for these patients, the box for the PCR UTI

panel was unchecked on twenty-one forms, and the provider failed

to sign twenty-three forms. See id. at 4. Under the circumstances,

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the absence of checkmarks and provider signatures on certain

requisition forms would not have suggested a substantial risk that

the ordered tests were medically unnecessary. See Allen, 334 F.

Supp. 3d at 365 (asking whether the defendant “had a specific basis

to   second-guess”     the    physician’s    certification       of   medical

necessity). As the form at issue was specific to MD Labs’ PCR UTI

testing, see Dkt. 259-15 at 2, MD Labs had no reason to doubt that

the provider intended to order such a test. And the form expressly

stated that a provider signature was “optional.” Id.

      Moreover, Relator offers no reason to believe that this sample

of fifty-seven tests -- which was selected by counsel, see Dkt.

254-18 at 5 -- is representative of the PCR UTI tests performed

for OMNI patients, let alone of the tests MD Labs performed for

all patients. With no proof of the representativeness of this

sample, all that is left is missing checkmarks and signatures on

a small percentage of the requisition forms submitted to MD Labs.

At best, this evidence may support a reasonable finding that

Defendants negligently performed PCR tests that providers did not

intend to order. But “innocent mistakes and negligence are not

offenses under the [FCA].” United States v. President & Fellows of

Harvard Coll., 323 F. Supp. 2d 151, 189 (D. Mass. 2004) (alteration

in original) (quoting United States v. Taber Extrusions, LP, 341

F.3d 843, 845 (8th Cir. 2003)).



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     Finally, Relator points to a January 2018 email in which

Grizelj      recommended   to     Rutledge      that    they      ask   a    Medicare

administrative       contractor    for   “guidance      on   medical        necessity”

regarding the PCR UTI tests. Dkt. 259-25 at 2. Relator does not,

however,     offer   evidence     indicating     that   Defendants          were   ever

advised that they were conducting medically unnecessary tests or

aware   of    a   substantial     risk   that    the    tests      were      medically

unnecessary when a doctor orders them.

     In addition to arguing that the performance of PCR UTI testing

was generally medically unnecessary, Relator advances a separate

theory regarding the make-up of MD Labs’ PCR testing panels.

Relator notes that MD Labs’ default PCR panel tested for either

seventeen or nineteen pathogens and argues that use of these overly

broad panels resulted in the performance of medically unnecessary

tests. It is true that “bundled tests, ordered via a pre-printed

form, can create FCA liability, provided the certifying entity is

aware that one or more of the tests is medically unnecessary, or

recklessly disregards such a risk.” Allen, 334 F. Supp. 3d at 357

(collecting cases). But a medical expert for Defendants opined

based on peer-reviewed literature that the make-up of MD Labs’

panels of seventeen and nineteen pathogens was appropriate for UTI

testing. See Dkt. 254-5 at 6. Relator does not respond with any

record evidence indicating that the make-up of the panels was

unnecessarily broad.

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     In sum, no reasonable jury could conclude on this record that

Defendants knew that they were submitting claims for PCR UTI

testing   that   was   medically   unnecessary.     Summary    judgment      is

therefore warranted for Defendants on this theory of liability.

III. Independent-Contractor Sales Representatives

     Relator’s second theory of FCA liability is premised on

Defendants’ purported violation of the AKS via MD Labs’ commission-

based payments to independent-contractor sales representatives. 3

The AKS prohibits individuals from paying remuneration to induce

a person to “arrange for or recommend purchasing . . . or ordering”

healthcare items or services. 42 U.S.C. § 1320a-7b(b)(2)(B). The

AKS includes a safe harbor for payments “by an employer to an

employee (who has a bona fide employment relationship with such

employer) for employment in the provision of covered items or

services,” id. § 1320a-7b(b)(3)(B); see 42 C.F.R. § 1001.952(i),

but this safe harbor does not protect payments to independent

contractors, see Mallory, 988 F.3d at 738; Langer, __ F. Supp. 3d

at __ [2024 WL 3633536, at *4].




3Relator asserts that these payments also violated the EKRA, which
criminalizes   the   knowing   and   willful   payment   of   “any
remuneration . . . to induce a referral of an individual to
a . . laboratory” for “services covered by a health care benefit
program.” 18 U.S.C. § 220(a)(2). Relator frames its arguments
solely in terms of the AKS, however, and does not contend that the
analysis would differ under the EKRA.
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       The plain language of the AKS’s broad prohibition covers

payments to independent contractors who were hired to influence

those who make healthcare decisions on behalf of providers by

promoting a company’s product or service. See Mallory, 988 F.3d at

738; Langer, __ F. Supp. 3d at __ [2024 WL 3633536, at *3-4]. At

the    hearing,    the   government   stated:    “The    law     is   that   paying

independent       contractors   commission-based        fees     is   not    per   se

unlawful, but it does bring the conduct within the confines of the

[AKS].” Dkt. 277 at 30. 4 While Relator does not dispute that MD


4 The Department of Health and Human Services’ Office of Inspector
General (“OIG”) has twice outlined factors relevant for
determining whether an independent-contractor sales arrangement
falls afoul of the AKS. See OIG Compliance Program Guidance for
Pharmaceutical Manufacturers, 68 Fed. Reg. 23,731, 23,739 (May 5,
2003)    (advising   consideration   of   1) “[t]he    amount   of
compensation”; 2) “[t]he identity of the sales agent engaged in
the marketing or promotional activity (e.g., is the agent a ‘white
coat’ marketer or otherwise in a position of exceptional
influence)”; 3) “[t]he sales agent’s relationship with his or her
audience”; 4) “[t]he nature of the marketing or promotional
activity”; 5) “[t]he item or service being promoted or marketed”;
and 6) “[t]he composition of the target audience”); OIG Advisory
Opinion No. 98-10, 1998 WL 35287765, at *3-4 (Aug. 31, 1998)
(listing the following “suspect characteristics”: 1) “compensation
based on percentage of sales”; 2) “direct billing of a Federal
health care program by the Seller for the item or service sold by
the sales agent”; 3) “direct contact between the sales agent and
physicians in a position to order items or services that are then
paid for by a Federal health care program”; 4) “direct contact
between the sales agent and Federal health care program
beneficiaries”; 5) “use of sales agents who are health care
professionals or persons in a similar position to exert undue
influence on purchasers or patients”; and 6) “marketing of items
or services that are separately reimbursable by a Federal health
care program”); see also Langer, __ F. Supp. 3d at __ [2024 WL
3633536, at *4] (discussing these OIG factors).


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Labs’ payments to sales representatives who were employees fall

within the bona fide employee safe harbor, it alleges that the

payments to independent-contractor sales representatives violated

the AKS and that this violation resulted in the submission of

claims for payment for PCR UTI testing. 5

       Again, Defendants seek summary judgment on this theory of

liability    on   three   alternative      grounds:   1) no     underlying       AKS

violation    occurred     because   Defendants     did   not    pay   the    sales

representatives with an unlawful intent to induce referrals; 2) no

underlying AKS violation occurred because Defendants did not know

that the payments at issue were unlawful; and 3) even if an

underlying   AKS   violation    occurred,     it   did   not    result      in   the

submission of claims.

       The Court begins and ends its analysis with Defendants’

causation argument. Under 42 U.S.C. § 1320a-7b(g), “a claim that

includes items or services resulting from a violation of [the AKS]

constitutes a false or fraudulent claim for purposes of” the FCA.

The First Circuit has interpreted the “resulting from” language in

this   provision    as    requiring   “a    sufficient     causal     connection




5 Relator asserts that MD Labs paid sales representatives a fee
for collecting specimens from providers. It is not clear from the
record whether these payments are different from the commission-
based   payments  that   the  parties   otherwise  discuss.   The
characterization of the payments as a specimen collection fee
rather than a commission does not affect the legal analysis.
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between an AKS violation and a claim submitted to the federal

government.” Guilfoile, 913 F.3d at 190.

       The parties dispute the relevant standard for determining

whether this “sufficient causal connection” exists. Defendants

urge the Court to apply the “but-for” causation standard adopted

by the Sixth and Eighth Circuits. See United States ex rel.

Martin v. Hathaway, 63 F.4th 1043, 1052-55 (6th Cir.), cert.

denied, 144 S. Ct. 224 (2023); United States ex rel. Cairns v.

D.S. Med. LLC, 42 F.4th 828, 834-36 (8th Cir. 2022). Under this

standard, the plaintiff must show “that the defendants would not

have   included   particular   ‘items      or    services’       [in   claims     for

payment] absent the illegal kickbacks.” Cairns, 42 F.4th at 835

(quoting 42 U.S.C. § 1320a-7b(g)). Relator responds that proof of

but-for causation is not necessary. The Third Circuit has held

that a claim results from an AKS violation if the plaintiff shows

“that at least one of [the] claims sought reimbursement for medical

care that was provided in violation of the [AKS].” United States

ex rel. Greenfield v. Medco Health Sols., Inc., 880 F.3d 89, 98

(3d Cir. 2018). In other words, a court must ask whether “a

particular patient [was] exposed to an illegal recommendation or

referral and a provider submit[ted] a claim for reimbursement

pertaining   to   that   patient.”   Id.    at    100.    Courts       within   this

district are split on whether but-for causation is required in

this context. Compare United States v. Regeneron Pharms., Inc.,

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No. 20-11217-FDS, 2023 WL 6296393, at *11 (D. Mass. Sept. 27, 2023)

(adopting the but-for causation standard), perm. app. granted,

No. 23-8036, 2023 WL 8599986 (1st Cir. Dec. 11, 2023), with United

States ex rel. Witkin v. Medtronic, Inc., No. 1:11-cv-10790-IT,

2024 WL 1892405, at *18-19 (D. Mass. Mar. 31, 2024) (rejecting

but-for causation), and United States v. Teva Pharms. USA, Inc.,

682 F. Supp. 3d 142, 148 (D. Mass. 2023) (same).

       The Court holds that the “resulting from” language in § 1320a-

7b(g) requires a plaintiff to show that the AKS violation was a

but-for cause of the inclusion of the item or service in a claim

for payment. To begin, I do not read the First Circuit’s decision

in Guilfoile to have reached a binding holding adopting the Third

Circuit’s      approach.     While    the      First   Circuit      stated   that    a

“sufficient causal connection” is required and then cited to the

Third Circuit’s opinion in Greenfield, it did not define what type

of causal connection is “sufficient.” Guilfoile, 913 F.3d at 190.

The    First    Circuit     also    expressly     warned     that    it   was   “not

attempt[ing] to assess the full implications of” § 1320a-7b(g)

because it was addressing “not the standard for proving an FCA

violation      based   on   the    AKS,   but    rather   the    requirements       for

pleading an FCA retaliation claim.” Id.

       Moreover, construing “resulting from” to mandate a showing of

but-for causation is consistent with basic principles of statutory

interpretation. When, as here, “Congress uses a term in a statute

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and does not define it,” courts “generally assume that the term

carries     its     plain   and     ordinary        meaning.”       United       States v.

Saemisch,      70   F.4th    1,    7   (1st       Cir.     2023)   (quoting       City    of

Providence v. Barr, 954 F.3d 23, 31 (1st Cir. 2020)). The Supreme

Court    has   explained     that      the   “ordinary       meaning”       of   a   nearly

identical phrase -- “results from” -- entails “a requirement of

actual    causality,”       i.e.    but-for        causation.      Burrage v.        United

States, 571 U.S. 204, 210-11 (2014). There is “no textual or

contextual indication” that Congress intended to give a different

meaning to the phrase “resulting from” in § 1320a-7b(g). Id. at

212. While the congressional record suggests that § 1320a-7b(g)

was enacted to “strengthen[] whistleblower actions,” Guilfoile,

913 F.3d at 190 (alteration in original) (quoting 155 Cong. Rec.

S10,852, S10,853 (daily ed. Oct. 28, 2009) (statement of Sen.

Kaufman)), that legislative history cannot “be used to ‘muddy’ the

meaning of ‘clear statutory language.’” Food Mktg. Inst. v. Argus

Leader Media, 588 U.S. 427, 436 (2019) (quoting Milner v. Dep’t of

Navy, 562 U.S. 562, 572 (2011)). Relator emphasizes the First

Circuit’s      decision     in      United        States     ex    rel.     Hutcheson v.

Blackstone Medical, Inc., 647 F.3d 377 (1st Cir. 2011), in support

of its argument that it need not prove but-for causation. The court

in   Hutcheson      expressly      declined       to     address   the     then-recently

enacted language in § 1320a-7b(g), see id. at 392 & n.17, so that

decision does not help Relator’s case.

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       Applying this but-for causation standard, the Court concludes

that    no   reasonable     jury       could    find       on   this    record       that    the

submission of claims for PCR UTI testing resulted from the alleged

AKS    violation,    i.e.,      Defendants’          commission-based           payments      to

independent-contractor sales representatives. For one, Relator has

offered no evidence that the independent-contractor status of some

of its sales representatives unduly influenced any provider’s

decision to order PCR UTI testing from MD Labs. As previously

noted, the AKS includes a safe harbor for payments made to bona

fide    employees.    See    42    U.S.C.          § 1320a-7b(b)(3)(B);             42    C.F.R.

§ 1001.952(i). Defendants submitted unrebutted evidence that MD

Labs     trained,    managed,          disciplined,             and     paid        its   sales

representatives      identically             whether       they       were    employees       or

independent contractors. See Dkt. 254-3 ¶¶ 15-17. Plainly, the

sales representatives, whether employee or independent contractor,

sought to influence referral of testing to MD Labs -- that’s why

they    were   hired.     But     there        is    no     evidence         that    MD   Labs’

independent-contractor sales representatives acted any differently

than the employees receiving commission-based payments from MD

Lab.

       Nor does the record support a reasonable finding that any

independent-contractor sales representative engaged in conduct

that improperly or unduly influenced a provider’s decision to

purchase     the   product.       It    is    true     that     sales        representatives

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participated in discussions with OMNI about an arrangement in which

OMNI would share in the profits from PCR UTI tests ordered from MD

Labs. See Dkt. 259-22 at 2; Dkt. 259-23 at 2. While Defendants

insist that these troubling discussions concerned the negotiation

of   a   lawful   reference      laboratory      agreement,       they   have     not

adequately explained when that type of arrangement is permissible.

Nonetheless, the record reflects that the parties never executed

any such agreement, and Relator offers no evidence that the profit-

sharing proposal ever came to fruition. Thus, any potentially

improper      conduct      by      the        independent-contractor            sales

representatives did not cause the submission of claims for MD Labs’

PCR UTI testing.

      Finally, Dr. Deligdish admitted at his deposition that OMNI

chose to order PCR UTI testing from MD Labs in every instance in

order to substantiate FCA allegations against Defendants. See Dkt.

254-12 at 22-23; Dkt. 260 ¶¶ 60-61. In other words, Dr. Deligdish

caused submission of false claims for PCR testing which he knew

were not medically necessary. Relator cites no evidence that the

commission-based        payments     to       independent-contractor            sales

representatives played any role in OMNI’s decision to order PCR

UTI tests from MD Labs. Accordingly, no reasonable jury could find

that the alleged AKS violation arising from these payments was a

but-for cause of the submission of claims for payment to the

federal government.

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IV.    Billing Practices

       That leaves Relator’s final theory of FCA liability, which

concerns Defendants’ purported failure to balance bill patients

and capping of out-of-pocket costs for patients at $50. Relator

asserts that these billing practices violated the AKS and that

Defendants submitted claims for payment to the federal government

that resulted from these AKS violations. Defendants have submitted

evidence that they never engaged in these practices. The matter is

disputed.

       Even assuming that the record suffices to show that MD Labs

declined to balance bill and capped out-of-pocket costs for certain

patients, Relator has put forth no proof that MD Labs submitted a

claim for PCR UTI testing to a government health care program for

a patient that received either of these financial benefits. The

only evidence in the record of specific claims for MD Labs’ PCR

UTI testing is a summary chart that describes fifty-seven tests

conducted by MD Labs for OMNI patients (only some of which involved

claims submitted to a government health care program). See Dkt.

259-8 at 3-4. The chart does not state whether MD Labs declined to

balance bill or capped out-of-pocket costs for any of the patients

for whom the claims were submitted. Without such evidence, a

reasonable jury could not conclude that, absent the allegedly




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unlawful kickbacks, Defendants would not have submitted the claims

for payment for PCR UTI testing. See Cairns, 42 F.4th at 835. 6

V.     Texas Law Claims

       Finally,    Defendants    assert    that   Relator’s     claims    under

various state and local analogs of the federal FCA fail as a matter

of law for the same reasons as its federal claims. Relator responds

that even if summary judgment is warranted for Defendants on its

federal claims, its claim under Texas law (Count XXVIII) survives.

Relator points to three purported differences between Texas law

and federal law: 1) liability under the Texas Medicaid Fraud

Prevention Act (“TMFPA”) does not require proof either of the

submission of false claims or of materiality; 2) the TMFPA defines

“materiality” differently than the federal FCA in that it “reaches

conduct beyond influencing the payment of money”; and 3) unlike

the federal AKS, neither the TMFPA nor the Texas Anti-Kickback

Statute requires that a defendant act “willfully.” Dkt. 259 at 30-

31.

       Relator’s arguments about Texas law are unconvincing. Because

the Court’s grant of summary judgment to Defendants on the federal


6 This evidentiary gap would be fatal to this theory of liability
even under the looser causation standard employed by the Third
Circuit. See Greenfield, 880 F.3d at 98, 100 (requiring a plaintiff
to “prove that at least one of [the] claims sought reimbursement
for medical care that was provided in violation of the [AKS],”
i.e., that “a particular patient [was] exposed to an illegal
recommendation or referral and a provider submit[ted] a claim for
reimbursement pertaining to that patient”).
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claims does not turn either on the federal FCA’s materiality

element or on the willfulness requirement for a federal FCA claim

premised on an AKS violation, any distinctions in those elements

between federal and Texas law are beside the point. And insofar as

Relator wishes to advance theories of liability under Texas law

that differ from those it presses under federal law -- i.e., that

do not involve the submission of false claims -- it does not

articulate those theories with any specificity. Relator’s allusion

to other possible theories of liability cannot save its case at

this juncture.

                                 ORDER

     For the reasons stated above, Defendants’ motion for summary

judgment (Dkt. 252) is ALLOWED, and Relator’s motion for partial

summary judgment (Dkt. 255) is DENIED as moot.

SO ORDERED.

                                         /s/ PATTI B. SARIS__________
                                         Hon. Patti B. Saris
                                         United States District Judge




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